ease 2: 04- --cr 20311- JDB Documem 194 Filed 03/11/05 Page 1 of|_;‘LED Pae el%§§€N COURT

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uNiTED sTATEs oi= AMERioA, )
)
Piaintifr, )
)

vs. ) cr. No. 04-20311-Ml
)
BENiTA RooERs, )
)
)

Defendant.

 

ORDER DISMISS|NG |NDICTMENT

 

Basec| upon the motion of the Uniteoi States and for good cause shown, indictment

No. 04-20311 egainst<p\ Benita Rogers is hereby ORDERED dismissed.

Entered this _/___i day ofAugust, 2005.@
ie| Breen
Unite States District Judge

Approved:

Terreii L. i-|arris
United States Attorney

Z£; )¢”.r)mlzh,__

\/ivian R. Done|son
Assistant Unitec| States Attorney

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Honorable J. Breen
US DISTRICT COURT

